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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PATRlClA FILARDI, an
individual JAMES _ _ _
RUTHERFORD, an mdlvldual;
a_nd`on behalf of all Others
S1mllarly Sltuated,

PLAINTIFFS,
vS.

THE RESORT AT PELICAN
HIL_L LLC, a Delaware l1m1ted
llab;ht cc_)mpany; and DOES l to
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DEFENDANTS.

 

 

 

Case No. 8:18-cv-00560-CJC-KES
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PLAINTlFFS’ MOTION TO
STRIKE DEFENDANT’S
AFFIRMATIVE DEFENSES

Judge: Hon. Cormac J. Camey

Trial Date: None Set

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MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENS§§_§

NOW COME Plaintiffs PATRIClA FILARDI and JAMES RUTHERFORD,
(“Plaintiffs”), individually, and on behalf of all others similarly situated, by and
through counsel, and pursuant to Fed. R. Civ. P. 12(f), respectfully request that this
Court strike Defendant THE RESORT AT PELICAN HILL, LLC’s (“Defendant”)
affirmative defenses In support thereof, Plaintiffs state:

I. LEGAL STANDARD.

Under Rule 12(1) of the Federal Rules of Civil Procedure, “[t]he court may
strike from a pleading an insufficient defense or any redundant, immaterial,
impertinent, or scandalous matter.” Fed. R. Civ. P. 12(1). Under Rule 12(1‘), “[a]
defense that Would not, under the facts alleged, constitute a valid defense to the
action can and should be deleted.” Taylor v. Stave, Inc., Case No. CV 15-4190-
FMO, 2016 WL 6674987, at *l (C.D. Cal. Jan. 4, 2016) (ciring Nevada Fair
Housing Center, Inc. v. Clark Cozmly, 565 F.Supp.Zd 1178, 1187 (D. Nev. 2008)).
“[T]he function of a Rule 12(f) motion to strike is to avoid the expenditure of time
and money that must arise from litigating spurious issues by dispensing With those
issues prior to trial. . . .” Castillo v. Bank ofAm. Nat’l Ass’n, Case No. SA CV 17-
0580-DOC, 2018 WL 1409314, at *3 (C.D. Cal. Feb. 1, 2018) (quoting Sz‘drzey_

Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983)).

 

MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE I)EFENSES
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“The key to determining the sufficiency of pleading an affirmative defense is
Whether it gives plaintiff fair notice of the defense.” Ia'. (citing Wyshak v. Cin Nat’l
Bank, 607 F.2d 824, 827 (9th Cir. 1979)); see Fed. R. Civ. P. S(b)(l)(A). ln
determining Whether an affirmative defense gives fair notice of the defense, the
heightened pleading standards set forth in Bell Atlantic Corp. v. Twomb[y, 550 U.S.
544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009) apply. Id. (citing Powertech
Tech., Inc. v. Tessera, Inc., 2012 WL 1746848, *4 (N.D. Cal. 2012) (“While
district courts have split on the issue, most have found that the heightened pleading
standard does apply to affirmative defenses.”)); Perez v. Gordon & Wong Law
Grp., P.C., 2012 WL 1029425, *8 (N.D. Cal. 2012) (“a defense need not include
extensive factual allegations in order to give fair notice, [but] bare statements
reciting mere legal conclusions may not be sufficient”) (citation omitted).

Where an affirmative defense simply states a legal conclusion or theory
Without the support of facts explaining how it connects to the case at bar, it is
insufficient and Will not Withstand a motion to strike. Deserr European Motorcars,
Ltd. v. Desert European Motorcars, Inc., Case NO. EDCV 11-197 RSWL, 2011
WL 3809933, at *1 (C.D. Cal. Aug. 25, 2011) (citing Qarbon.com, Inc. v. eHelp
Corp., 315 F.Supp.2d 1046, 1049 (C.D.Cal.2004)).

A court may also strike a matter in an answer that is immaterial or

impertinent. Fed. R. Civ. P. lZ(f). lmrnaterial matter is “that Which has no essential

 

MOTION 'I`O STRIKE DEFENI)ANT’S AFFIRMATIVE DEFENSES
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Case 8:18-cV-OO56O-C.]C-KES Document 25 Filed 05/14/18 Page 4 of 16 Page |D #:83

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or important relationship to the claim for relief or the defenses being pleaded.”
Fani‘asy, Inc. v. Fogerly, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other
grounds, 510 U.S. 517 (1994). linpertinent matter does not pertain, and is not
necessary, to the issues iri question Id.
II. ARGUMENT.

ln response to Plaintiffs’ Complaint that raises claims under the Americaiis
with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181, et seq., and the
California Unruh Civii Rights Act (“Unruh”), California Civil Code § 51, er seq.,
Defendant raises twenty five (25) affirmative defenses in its Answer. See Answer
to the Class Action Comp!ai`nt (“Answer”), Dkt. 20. A]most all cf Defendant’S
affirmative defenses consist of a single sentence that simply claims that Plaintiffs’
claims are barred by the defense raised. Defendant’s affirmative defenses lack any
factual allegations or even a recitation of the elements of each claim, and amount
to mere bare bones conclusory allegations Therefore, the Court should strike all
of Defendant’s affirmative defenses

Defendants’ first affirmative defense contends that Plaintiffs lack standing to
bring their claims against Defendant because they are not "bona fide patrons, []
never attempted to access Defendant’s Website . . . and/or [] do not intend to access
_Defendant’s website [] in the future.” See Ariswer, at p. 8. However, contrary to

Defendant’s claim, the Ninth Circuit has made clear that individuals with

 

MOTION TO STRIKE DEFENDAN'I"S AFFIRMATIVE I)EFENSES
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disabilities may pursue claims for violations of the Americans with Disabilities Act
under the “tester standing” doctrine See Civi'l Rights Educ. and Enforcement
Cemer v. Hospita[i`ly Properties Trusi‘, 867 F.3d 1093, 1102 (9th Cir. 2017) (“The
Named Plaintiffs’ status as ADA testers thus does not deprive them of standing.”).
As such, Plaintiffs have standing to bring their claims against Defendant.

Defendant’s second affirmative defense is a threadbare allegation that
“Plaintiffs’ claims are barred to the extent that they are based on visits to the
subject website (and/or mobile applications) beyond the Statute of Limitations.”
Ariswer at p. 8. Defendant does not provide any factual basis for the affirmative
defense Instead, it is a mere conclusory allegation that claims may be barred by
the statute of limitations, and does not comply with the pleading requirements of
Fed. R. Civ. P. S(a). As such, Defendant’s second affirmative defense should be
stricken

Defendant’s third affirmative defense is that the complaint fails to state a
claim for relief. See Ariswer, at p. 8. However, the argument that a complaint fails
to state a claim for relief is not an affirmative defense, but rather should be raised
in a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). See
Figueroa v. Marshalls of CA, LLC, Case No. CV-11-06813-RGK, 2012 WL

1424400, at *3 (C.D. Cal. April 23, 2012). Further, Defendant’s third affirmative

 

MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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defense is devoid of any allegations setting forth the purported deficiencies of the
Complaint. Therefore, the Court should strike the third affirmative defense

Defendants’ fourth affirmative defense claims that Defendant’s website
“provided effective access to Plaintiffs” because the barriers to access were “de
minimis” and Defendant’s website Was “usable and accessible.” See Answer, at pp.
8-9. Again, Defendant fails to allege any legal basis for the defense, state What
types of effective access were provided, or provide any factual allegations to
Support the claim. See Kohler v. Islands Restaurants, LP, 280 F.R.D. 560, 568
(S.D. Cal. 2012) (striking the defendant’s “Effective Access” affirmative defense
because the defendant did not identify the legal basis for the defense or the type of
effective access and alterations that form the grounds of the defense). As such, the
Court should strike Defendant’s fourth affirmative defense

Defendant’s fifth affirmative defense contends that “defendant was ready
and willing to accommodate Plaintiffs’ alleged disability by providing access via
alternative methods[,] [sic] but Plaintiff`s never asked for or sought any assistance.”
See Answer at p. 9. First, Defendant does not provide any support for what
“alternative metliods” Were able to be provided to Plaintiffs. Second, the
willingness to provide alternative methods to a barrier is not a defense to an ADA

claim alleging a discriminatory practice See Kohler v. Sraples the O]jice

 

MOTION TO STRIKE DEFENI)ANT’S AFFIRMATIVE DEFENSES
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Supersrore, LLC, 291 F.R.D. 464, 471»72 (S.D. Cal. 2013) (stating that the ADA
does not require intentional discriminatory conduct).

Defendant’s sixth affirmative defense is that Plaintiffs’ claims are barred by
the doctrine of unclean hands. See Answer, at p. 9. Defendant contends that
Plaintiffs have unclean hands because they “are not bona fide patrons, but serial
plaintiffs Who filed this lawsuit to try to extort a monetary settlement.” See id.
However, contrary to Defendant’s claim, as noted above, the Ninth Circuit permits
individuals Who are disabled to pursue these claims under the “tester standing”
doctrine See Civil Ri`ghts Educ. and Enforcement Cenrer, 867 F.3d at 1102.
`Further, unclean hands is not an affirmative defense to a claim arising under the
ADA. See Doe v. Deer Mountai`n Day Camp, Inc., 682 F.Supp.2d 324 (S.D.N.Y.
2010) (citing McKennon v. Nashvl`l[e Banrier Piibl’q Co., 513 U.S. 352, 360
(1995)).

Defendant’s seventh affirmative defense is that full compliance With the
ADA and Unruh is “technically infeasible.” See Ariswer at p. 9. However, again,
Defendant does not provide any factual basis for the claim that modification of
Defendant’s website is technically infeasible Fuither, the “technically infeasible”
alteration doctrine is only a defense to architectural_i'.e. physical_barriers. See

28 C.F.R. § 36.304. As such, the seventh affirmative defense should be stricken.

 

MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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Defendant’s eighth affirmative defense contends that any changes to its

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website to accommodate Plaintiffs and Class members are not required under
either federal (i`.e., the ADA) or California (i'.e., Unruh) law, and therefore impose
an undue burden on Defendant See Answer, at pp. 9-10. However, this “undue
burden” affirmative defense is merely a repacking of Defendant’s failure to state a

claim affirmative defense from a different angle Defendant’s claim in the eighth

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affirmative defense is that its website did not violate either the ADA or Unruh,

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which is a mere denial of Plaintiffs’ claims See Fi'grieroa, 2012 WL 142440 at *3.

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Further, Defendant does not provide any basis for how changing its website

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presents such a massive undertaking as to be an undue burden on Defendant As

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such, Defendant’s eighth affirmative defense should be stricken because it is not an

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affirmative defense

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Defendant’s ninth affirmative defense contends that Defendant is not liable

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because “Plaintiffs never asked for or sought assistance.” See Answer, at p. 10.

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However, Plaintiffs were not required to request that Defendant change its website

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to allow Plaintiffs to make reservations See Borosari v. Paul McNally Realty, 216

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F.3d 827, 832 (9th Cir. 2000) (finding that there is no notice requirement in the

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ADA).

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Defendant’s tenth affirmative defense posits that Plaintiffs’ claims are barred

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because they “failed to properly mitigate their alleged damages . . .” See Answer,

 

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MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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at p. l0. First, it is unclear how Plaintiffs could have mitigated their damages and,
as such, Defendant does not include any factual allegations in support of that
claim. Second, while Defendant contends that Plaintiffs purposefully accessed
Defendant’s website to verify if it complied With the ADA and Unruh, Plaintiffs
are allowed to visit Defendant’s website to verify if it complies with the ADA and
Unruh under the “tester standing” doctrine See Civi'l Rights Educ. and
Enforcemenr Center, 867 F.3d at 1102. As such, the Court should strike
Defendant’s tenth affirmative defense

Defendant’s eleventh affirmative defense simply claims that “fixing the
barriers alleged in the Cornplaint would . . . result in a fundamental alteration of
Defendant’s services.” .S'ee Aaswer, at p. 10. However, Defendant does not
provide any factual support for the claim_nor could it_that changing its website
to allow individuals with disabilities to make reservations for accessible rooms
would “fundamentally alter[]” the services that Defendant provides as a hotel that
allows patrons to make reservations on its website As such, the Court should
strike Defendant’s eleventh affirmative defense

Defendant’s twelfth affirmative defense contends that “removal of the
alleged barriers . . . [is] not readily achievable or easily accomplishable and/or able
to be carried out without much difficulty or expense . . . .” See Answer, at p. 10.

However, the “readily achievable” defense to the ADA only applies to structural or

 

MOTION TO STRIKE DEF`ENDANT’S AFFIRMATIVE DEFENSES
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architectural barriers, and not to the discriminatory practices that are alleged in the

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Complaint. See 42 U.S.C. § 12182(b)(2)(A). Moreover, Defendant does not
provide any factual support for how providing additional information and access
on its website is not readily achievable As such, the Court should strike
Defendant’s twelfth affirmative defense

Defendant’s thirteenth affirmative defense is that Defendant had “legitimate,

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non-discriminatory business reasons” to not provide Plaintiffs or Class members

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information or access to reserving accessible rooms on Defendant’s Website See

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Answer, at p. 11. Not only does Defendant not provide any support for the claim,

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but the “business justification” defense is only applicable to Title ll ADA claims

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and claims arising under the Age Discrimination in Employment Act, neither of

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which are alleged in the Complaint. See Nejv. American Dai`ry Qiieeri Corp., 58

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F.3d 1063, 1070 (5th Cir. 1995).

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Defendant’s fourteenth affirmative defense claims that Defendant is not

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liable because it “acted reasonably and in good faith.” See Answer, at p. 11.

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However, not only is the affirmative defense not supported by any facts, but it also

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is not legally sufficient because good faith is not an affirmative defense to a claim

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under the ADA or Unruh. See Staples the Ojjfice Supersiore, LLC, 291 F.R.D. at

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471-72; Lentini v. Calt`foi‘nia Ctr.for the Ar'fs, 370 F.3d 837, 847 (9th Cir. 2004).

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Defendant’s fifteenth affirmative defense contends that Plaintiffs’ claims are
moot because Defendant “complies With all applicable standards.” See Answer, at
p. l 1. This claim is not an affirmative defense, but instead is merely a denial of the
allegations in the Complaint that Defendant’s Website violates the ADA and
Unruh. As such, the affirmative defense should be struck. See Fi`gueroa, 2012
WL 142440 at *3.

Defendant’s sixteenth affirmative defense is that Defendant provided or was

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willing to provide Plaintiffs With “equivalent facilitation with respect to the

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barriers . . . .” See Ariswer, at p. l 1. However, Defendant does not state what other

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types of facilitations were available, or how the alternatives were equivalent to

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making a reservation through Defendant’s website As such, the affirmative

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defense is not factually sufficient

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Defendant’s seventeenth affirmative defense is that Plaintiffs’ claims are

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subject to arbitration, as set forth in Defendant’s “terms and conditions.” See

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Ariswer, at p. 12. Defendant does not attach a copy of the terms and conditions of

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its website that allegedly require parties to arbitrate disputes with Defendant Nor

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can it, as Defendant’s website does not include any such provision See generally,

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www.pelicanhill.com. Further, even if Defendant’s website did include such a

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provision and it was legally enforceable Defendant waived such a provision by

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filing its Answer to the Complaint and participating in this action. See 1a re

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MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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Toyota Moi‘or Corp. Hybri`a' Brake Markei‘i'ng, Sales, Pracri`ces, and Producrs

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Li`abi`li`iy Li`rigation, 828 F.Supp.2d 1150, 1163-64 (C.D. Cal. 201l). As such, the
Court should strike the seventeenth affirmative defense

Similarly, the Court should strike Defendant’s eighteenth and nineteenth
affirmative defenses which raise forum non conveniens and improper venue,

respectively See Answer, at p. 12. Defendant has not provided any support why

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California is the improper venue or an inconvenient forum for a resort located

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within this District. As Such, the eighteenth and nineteenth affirmative defenses

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should be stricken

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Defendant’s twentieth affirmative defense contends that the United States

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Department of Justice has not promulgated any standards and/or regulations

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regarding the use of website See Answer, at p. l2. Other than the claim, without

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support from any authority, that the Department of Justice has not promulgated any

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standards for websites, Defendant does not provide any support for why the court

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should apply the primary jurisdiction doctrine to this case Moreover, courts have

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frequently denied applying the primary jurisdiction doctrine for claims arising

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under the ADA involving websites. See Reed v. CVS Pharinacy, lnc., Case No.

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CV-17-3877-MWF, 2017 WL 4457508, at *6 (C.D. Cal. Oct. 3, 2017).

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Defendant’s twenty-first affirmative defense contends that Plaintiffs’ claims

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are barred because “Defendant effectively communicated with Plaintiff [sic]

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MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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through the use of auxiliary aids and services.” See Answer, at p. 12. Again,

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Defendant provides no support for how it effectively communicated with Plaintiffs,
what auxiliary aids and services were used, or how those auxiliary aids and
services defeats Plaintiffs’ claims

Defendant’s twenty-second affirmative defense claims “Plaintiff’s [sic]

claim for injunctive and other equitable relief is barred because he [sic] will not

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suffer any irreparable injury if injunctive or other equitable relief is denied and/or

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because he [sic] has an adequate and complete remedy at law.” See Answer, at pp.

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12-13. Sirnilar to the other affirmative defenses, Defendant does not provide any

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support for the claim. l\/loreover, whether Plaintiffs have an adequate legal remedy

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is merely a denial of Plaintiffs’ claims, and not an affirmative defense See Kohler

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v. Bed Bath & Beyond of Cali`forni`a, LLC, Case NO. CV~l 1-4451-RSWL, 2012

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WL 424377, at *3 (C.D. Cal. Feb. 8, 2012).

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Defendant’s twenty-third affirmative defense is that the “Plaintiff’s [sic]

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claims are barred pursuant to 47 U.S.C. §230, a Provision [sic] of the

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Communication Decency Act, as content on the website is provided by another

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information content provider.” See Answer, at p. l3. First, Defendant does not

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provide any support for the affirmative defense, or even cite to any specific

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provision of the Communication Decency Act. Without any legal or factual

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MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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support for its claim, Plaintiffs cannot adequately respond to the affirmative

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defense As such, it should be stricken

Finally, Defendant’s twenty-fourth and twenty-fifth affirmative defenses
ripeness and due process, respectively, should be stricken Not only does
Defendant not provide any support for the alleged defenses, but they are irrelevant,

unintelligible, and not affirmative defenses Plaintiffs’ claims are ripe as they

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attempted to use Defendant’s website, but were unable to due to Defendant’s

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violation of the ADA and Unruh. See Complaint. These allegations are sufficient

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to confer standing on Plaintiffs under the “tester standing” doctrine See Civi`l

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flights Edac. and Enforcenieni‘ Cenrer, 867 F.3d at 1102. Further, Defendant had

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sufficient notice of the requirements of the ADA to provide access to individuals

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with disabilities See Reed, 2017 WL 4457508, at *5-6 (striking an affirmative

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defense that alleged that the ADA claim violated the defendant’s due process). As

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such, the twenty-fourth and twenty~fifth affirmative defenses should be stricken

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WI-IEREFORE, Plaintiffs PATRlClA FILARDI and JAMES

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RUTHERFORD pray that the Court enter an Order striking all of Defendant’s

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affirmative defenses, and for any other relief deemed just under the circumstances

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Plaintiffs PATRICIA FILARDI, JAMES
RUTHERFORD, individually and on behalf
of all others similarly situated,

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By: /s/ Joseph R. Manning, Jr.

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MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
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PROOF OF SERVICE

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Joseph R. Manning, Jr., an attorney, hereby certifies that he caused the
above and foregoing notice of motion to be served upon counsel of record in this
case via the U.S. District Court CM/ECF System, on this day May 14, 2018.

s/ Joseph R. l\/fanning_ Jr.

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